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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               NORFOLK DIVISION

   The Coleman Company, Inc.,            )
                                         )
       Plaintiff/Counterclaim Defendant, )
                                         )
   v.                                    ) Civil Action No: 2:20cv351-RGD-RJK
                                         )
   Team Worldwide Corporation,           )
                                         )
       Defendant/Counterclaim Plaintiff  )
                                         )
   and                                   )
                                         )
   Cheng-Chung Wang                      )
                                         )
       Counterclaim Plaintiff            )
   ____________________________________ )

        TEAM WORLDWIDE CORPORATION AND CHENG-CHUNG WANG’S
     OPPOSITION TO PLAINTIFF THE COLEMAN COMPANY, INC.’S MOTION TO
        EXCLUDE AND STRIKE OPINIONS OFFERED BY DR. GLEN STEVICK




                                EXHIBIT A




                                           1
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